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The

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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JONES, Appellant

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Anderson
County, Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial
Court No. 30095

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Memorandum Opinion by Justice Carter








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Keith Earl Jones made the
unfortunate decision to take to the road after drinking “a few beers.”&nbsp; The hefty consequence of this poor decision
led to a significant accident with a vehicle driven by Jo Green, as well as
Jones’ third DWI charge.&nbsp; Jones appeals[1] his conviction of DWI third or
more, repeat offender, and his sentence of sixty years’ imprisonment, which was
assessed pursuant to enhancement paragraphs alleging Jones had previously
committed the offenses of delivery of a controlled substance and voluntary
manslaughter.&nbsp; Jones argues that the
evidence was insufficient to support his conviction and punishment enhancements
and that the trial court erred in admitting “an unsupported prior conviction
[of voluntary manslaughter] attributed to the Defendant” during the punishment
phase of the trial.&nbsp; We affirm the trial
court’s judgment because we find the evidence sufficient to support Jones’
conviction and enhancements, and hold there was no error in admitting the prior
conviction.&nbsp; 

I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Legally
Sufficient Evidence Supports the Finding of Guilt

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In evaluating legal sufficiency of
the evidence to prove the charged offense, we review all the evidence in the
light most favorable to the trial court’s judgment to determine whether any
rational jury could have found the essential elements of DWI third or more
beyond a reasonable doubt.&nbsp; Brooks v. State, 323 S.W.3d 893, 912
(Tex. Crim. App. 2010) (citing Jackson v.
Virginia, 443 U.S. 307, 319 (1979)); Hartsfield
v. State, 305 S.W.3d 859, 863 (Tex. App.—Texarkana 2010, pet. ref’d).&nbsp; Our rigorous
legal sufficiency review focuses on the quality of the evidence presented.&nbsp; Brooks,
323 S.W.3d at 917 (Cochran, J., concurring).&nbsp;
We examine legal sufficiency under the direction of Brooks, while giving deference to the responsibility of the jury
“to fairly resolve conflicts in testimony, to weigh the evidence, and to draw
reasonable inferences from basic facts to ultimate facts.”&nbsp; Hooper
v. State, 214 S.W.3d 9, 13 (Tex. Crim. App. 2007) (citing Jackson, 443 U.S. at 318–19); Clayton v. State, 235 S.W.3d 772, 778
(Tex. Crim. App. 2007).[2]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Legal sufficiency of the evidence is
measured by the elements of the offense as defined by a hypothetically correct
jury charge. &nbsp;Malik v. State, 953 S.W.2d 234, 240 (Tex. Crim. App. 1997); see also Vega v. State, 267 S.W.3d 912, 916 (Tex. Crim. App. 2008).&nbsp; A person commits the offense if he or she is
intoxicated while operating a motor vehicle in a public place.&nbsp; Tex.
Penal Code Ann. § 49.04(a) (West Supp. 2011).&nbsp; “Intoxicated” means “(A) not having the
normal use of mental or physical faculties by reason of the introduction of
alcohol, a controlled substance, a drug, a dangerous drug, a combination of two
or more of those substances, or any other substance into the body; or (B)
having an alcohol concentration of 0.08 or more.” &nbsp;Tex.
Penal Code Ann. §&nbsp;49.01(2)(A), (B) (West 2011). &nbsp;The indictment alleged Jones was intoxicated
by reason of introduction of alcohol, a controlled substance, a drug, a
dangerous drug, or a combination into the body.&nbsp;
The State also alleged that Jones had twice been previously convicted of
DWI, meeting the jurisdictional requirements of Section 49.09 used to elevate
the offense to a third degree felony.&nbsp; Tex. Penal Code Ann. § 49.09(b)(2)
(West Supp. 2011). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Thus, under a hypothetically correct
charge in this case, the jury was required to find, beyond a reasonable doubt,
that (1) Jones, (2) operated a motor vehicle, (3) in a public place, (4)&nbsp;while
intoxicated: &nbsp;not having the normal use
of mental or physical faculties, (5) due to the introduction of alcohol or
other substances into the body, and (6) that Jones had previously been
convicted two times of an offense “relating to the operating of a motor
vehicle” while intoxicated.[3] &nbsp;Tex.
Penal Code Ann. §§ 49.01(2)(A), 49.04(a), 49.09(b).&nbsp; Complaining only that he was not intoxicated,
Jones contends the evidence was insufficient to prove the fourth element.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Approximately two hours after the accident,
Jones was transported to the hospital, where a blood test reported his blood
alcohol level (BAL) at 0.07.&nbsp; Considering
the passage of time between the collision and the blood draw, responding
officer Damian Conner testified that Jones must have had a BAL of 0.08 or more
at the time of collision.&nbsp; Jones
complains that such extrapolation is insufficient to prove the offense and
recites that “[t]here must be some other evidence in the record that would
support an inference that the Defendant was intoxicated at the time of
driving.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; But here, the indictment required
that the State prove that Jones did not have the normal use of his mental or
physical faculties by reason of introduction of a substance, not that his BAL was
0.08 or more.&nbsp; There is ample evidence to
support such a finding.&nbsp; Green testified
that she was traveling northbound on a county road when she observed Jones’
Dodge pickup truck traveling southbound “at a high rate of speed” in her lane
of travel.&nbsp; Although Green took evasive
action and moved “4 feet off the road,” Jones violently collided with, and
totaled, Green’s car.&nbsp; Jones approached
Green after the accident.&nbsp; Green
testified, “He was walking around, staggering around,” and described him as
having slurred speech and bloodshot eyes.&nbsp;
Firefighter and paramedic David Giles testified that Jones smelled of
alcohol and that he “admitted that he had been drinking.” &nbsp;Conner also smelled “a very strong odor” of
alcohol upon speaking to Jones, observed his slurred speech and sluggish
demeanor, and decided to administer field sobriety tests.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Prior to administration of these
tests, Jones admitted to Conner that he had “a few beers.”&nbsp; The admission was confirmed by a portable
breath test.&nbsp; Conner noted that Jones
possessed a lack of smooth pursuit during the horizontal gaze nystagmus test, which led to the presence of four out of
six clues of intoxication. &nbsp;A video of
the field sobriety tests being conducted, admitted for the jury’s review,
depicts Jones swaying slightly during the examination.&nbsp; Conner recorded two out of eight clues during
the “walk-and-turn” test, and found that Jones used his arms for balance during
the one-legged stand test.&nbsp; Jones told
Conner that he was not sure if he could walk a straight line or complete the
one-legged stand test.&nbsp; Conner concluded
that Jones was intoxicated. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; When viewed in the light most
favorable to the verdict, the testimony, and the reality that an accident had occurred,
there was sufficient evidence for a rational jury to find that Jones was
driving at a time when he did not have the normal use of his mental or physical
faculties as a result of alcohol intoxication.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jones argues that the evidence was
insufficient because the theory that he caused the accident was based upon “the
brief observations of Ms. Green, who surprisingly recited typical DPS
jargon.”&nbsp; He continues, “The accident,
with the observations of Ms. Green, and the general vague reconstruction
provided by Trooper Conner, could have as reasonably been a result of speed and
lane position, as it could have been by intoxication.”&nbsp; Jones described the testimony as based upon
“conjecture, and post incident observations.”&nbsp;
These arguments involve the credibility of witnesses—a matter left
strictly to the fact-finder.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The evidence is sufficient to
support the finding of guilt.&nbsp; Jones’
first point of error is overruled.&nbsp; 

II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sufficient
Evidence Supports the Finding of True to Enhancements 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The State sought to enhance Jones’
punishment from that of a third degree felony to a range of punishment from
twenty-five to ninety-nine years or life imprisonment by alleging Jones had
previously committed the offenses of delivery of a controlled substance and
voluntary manslaughter.&nbsp; Tex. Penal Code Ann. § 12.42(d) (West Supp.
2011).&nbsp; Jones objected to the admission
of pen packets on the basis that the State failed to properly prove that he was
linked to the prior convictions.&nbsp; The
objection was overruled.&nbsp; Jones contends
that this was error and that the evidence was insufficient to prove the
enhancements. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The State had the burden to prove
that Jones was the same person convicted of each of the prior felonies.&nbsp;
Flowers v. State, 220 S.W.3d 919, 921 (Tex. Crim. App. 2007); Beck v. State, 719 S.W.2d 205, 210 (Tex.
Crim. App. 1986) (“It is incumbent on the State to go forward and show by independent
evidence that the defendant is the person so previously convicted.”).&nbsp; Absent evidence linking the defendant to the
prior convictions, evidence of the prior convictions cannot be used to enhance
the punishment.&nbsp; Benton v. State, 336 S.W.3d 355, 357 (Tex. App.—Texarkana 2011,
pet. ref’d). &nbsp;The
determination of whether sufficient evidence links the defendant to the prior
conviction is made on a case-by-case basis.&nbsp;
Human v. State, 749 S.W.2d
832, 835–36 (Tex. Crim. App. 1988).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No specific document or mode of
proof is required to prove the link.&nbsp; Flowers, 220 S.W.3d at 921.&nbsp; The State is entitled to use circumstantial
evidence to prove the defendant is the same person named in the alleged prior
convictions, and proof may be made “in a number of different ways.”&nbsp; Id.;
Human, 749 S.W.2d at 835–36,
839.&nbsp; For example, the State can meet its
burden by introducing multiple documents that when read together, contain
“sufficient information to establish both the existence of the prior conviction
and the defendant’s identity as the person convicted.”&nbsp; Flowers,
220 S.W.3d 921–22.&nbsp; It was the
fact-finder’s province to determine the question of whether Jones was the
person convicted of the prior felony offenses.&nbsp;
Id. at 923.&nbsp; Thus, it was proper for the trial court to
admit the pen packets. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We now examine the evidence linking
Jones to the prior convictions.&nbsp; The pen
packet labeled as State’s exhibit 13 contained a 1989 judgment revoking
community supervision for the offense of voluntary manslaughter, and recited
that “Keith Jones” was convicted of the offense in Houston County, Texas, by
the 349th Judicial District Court.&nbsp; The
pen packet included a picture purporting to be a youthful Jones, and
fingerprints of Keith Earl Jones.&nbsp;
State’s exhibit 14 was a pen packet containing a 1998 judgment, also
from the 349th Judicial District Court, revoking community supervision for the
offense of delivery of a controlled substance committed by “Keith Jones.”&nbsp; A picture purporting to be Jones and a fingerprint
card of “Keith Earl Jones” was also included in this pen packet.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Fingerprint analyst Christopher
Dobbs took fresh prints from Jones and testified that they matched the
fingerprints taken in State’s exhibit 14. &nbsp;Dobbs also conducted a comparison with the
fingerprints in State’s exhibit 13.&nbsp;
However, he was unable to form an opinion as to whether the prints could
be considered a match.&nbsp; Specifically,
Dobbs testified he was able to match some characteristics of the fingerprints
to Jones’ fresh prints, but he was not comfortable forming a definitive opinion
based on the fingerprint card provided.&nbsp;
However, Dobbs compared the photographs in State’s exhibit 13 with the
photograph in exhibit 14 and concluded that they appeared to be of Jones.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The jury heard Dobbs’ testimony that
Jones’ fresh prints matched exhibit 14.&nbsp;
It was provided with both pen packets and could conduct its own
comparison of the photographs with each other as well as comparing them to the
defendant in the courtroom.&nbsp; While it is
theoretically possible that another person with the same first, middle, and
last name, who looked exactly like Jones was convicted three times in the same
District Court in Houston County, Texas, it is certainly a rational decision by
the jury that beyond a reasonable doubt, Jones was the same person identified
in both of the pen packets.&nbsp; Therefore,
we find the evidence sufficient to prove the enhancements. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jones’ last point of error is
overruled. 

III.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Conclusion


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We affirm the trial court’s judgment. 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jack
Carter

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Date
Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; November 14, 2011

Date
Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; December 2, 2011

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Do Not
Publish

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[1]Originally appealed to the Twelfth Court of Appeals,
this case was transferred to this Court by the Texas Supreme Court pursuant to
its docket equalization efforts.&nbsp; See Tex.
Gov’t Code Ann. § 73.001 (West 2005).&nbsp; We are unaware of any conflict between precedent
of the Twelfth Court of Appeals and that of this Court on any relevant
issue.&nbsp; See Tex. R. App. P.
41.3.





[2]Jones
urges this Court to return to the standard of review as espoused in Clewis v. State, 922 S.W.2d 126 (Tex. Crim.
App. 1996), which included a review for factual sufficiency of the
evidence.&nbsp; Clewis was expressly overruled by the Texas Court of Criminal Appeals in Brooks, 323 S.W.3d at 995.&nbsp; Accordingly, we decline to apply Clewis to this case.






[3]Jones
stipulated to the two prior DWI convictions.&nbsp;








